      Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 1 of 15




                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK




FELICITAS DEL CARMEN VILLANUEVA
GARNICA,

                          Plaintiff,
                                                Index No. 13–Civ–3943 (AKH)
          - against -

MALU CUSTER EDWARDS aka MALU
HURLEY and MICHAEL HURLEY aka
MICKY HURLEY,

                          Defendants.




 MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’ MOTION
                         FOR COSTS




                            ROBIN L. ALPERSTEIN, ESQ.
                            WILLIAM H. NEWMAN, ESQ.
                           MICHELLE R. DEMASON, ESQ.

            BECKER, GLYNN, MUFFLY, CHASSIN & HOSINSKI LLP
                          299 PARK AVENUE
                      NEW YORK, NEW YORK 10171
                             (212) 888-3033
            Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 2 of 15




                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

PRELIMINARY STATEMENT .................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 2

             A.            Stoll Glickman Files the Complaint.................................................................. 2

             B.            Stoll Glickman Proposes an Amended Complaint Which Still Contains
                           Allegations it Knew or Should Have Known to Be False ................................ 2

             C.            The Court Grants the Defendants Summary Judgment and Awards Costs ...... 4

             D.            The Clerk of the Court Approves The Defendants’ Bill of Costs but Stoll
                           Glickman Refuses to Pay .................................................................................. 5

             E.            Stoll Glickman’s Work Was Not Limited to Individual Lawyers .................... 5

ARGUMENT .................................................................................................................................. 6

             I.            STOLL GLICKMAN HAS NOT PROVIDED ANY VALID REASON WHY
                           THE COURT’S AWARD OF COSTS SHOULD BE IGNORED................... 6

             II.           STOLL GLICKMAN HAS NOT PROVIDED ANY VALID REASON WHY
                           THE AMOUNT OF COSTS TAXED SHOULD BE SET ASIDE .................. 8

             III.          LAW FIRMS ARE NOT IMMUNE FROM PAYING COSTS UNDER ANY
                           STATUTORY OR INHERENT AUTHORITY TO AWARD THEM .......... 10

CONCLUSION ............................................................................................................................. 12
             Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 3 of 15




                                                TABLE OF AUTHORITIES


Cases
Enmon v. Prospect Capital Corp.,
   675 F.3d 138 (2d Cir. 2012).............................................................................................. 10, 11

Garnica v. Edwards,
   2014 U.S. Dist. LEXIS 177170 (S.D.N.Y. Dec. 11, 2014) .......................................... 1, 4, 6, 9

Gollomp v. Spitzer,
   568 F.3d 355 (2d Cir. 2009)...................................................................................................... 9

Levine v. FDIC,
   2 F.3d 476 (2d Cir. 1993).................................................................................................... 9, 11

New Amsterdam Capital Partners, LLC v. Wilson,
   2015 U.S. Dist. LEXIS 31252 (S.D.N.Y. Mar. 13, 2015) ........................................................ 8

Universitas Educ., LLC v. Nova Grp.,
   2013 U.S. Dist. LEXIS 142901 (S.D.N.Y. May 21, 2013)..................................................... 10

Statutes
28 U.S.C. § 1927 .................................................................................................................... passim

Rules
Fed. R. Civ. P. 11 ................................................................................................................... passim

Local Civil Rule 6.3 ........................................................................................................................ 6




                                                                      ii
            Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 4 of 15




                                              INTRODUCTION

           Defendants Malu Custer Edwards and Michael Hurley (together, “Defendants”) submit

this memorandum of law in further support of their motion for costs (the “Motion”) against Stoll,

Glickman, and Bellina LLP (“Stoll Glickman”), counsel to Felicitas del Carmen Villanueva

Garnica (“Plaintiff”). This memorandum is supported by the Declaration of William H.

Newman, dated April 1, 2015 (“Second Newman Decl.”).

                                     PRELIMINARY STATEMENT

           In opposition to the Motion, Stoll Glickman offers three arguments, none of which has

merit. The opposition should be rejected and the Motion granted, for the following reasons:

           First, Stoll Glickman’s primary argument – that costs should not be awarded in this case

– comes too late. This Court already decided the issue when it awarded costs to the Defendants

on December 9, 2014. Newman Decl. 1 Ex. D, Tr. 33:12-15; see also Garnica v. Edwards, 2014

U.S. Dist. LEXIS 177170, at *14 (S.D.N.Y. Dec. 11, 2014). Stoll Glickman’s belated attempt to

dispute the merits of the Court’s award of costs is nothing but an untimely bid for

reconsideration, and should be rejected out of hand.

           Second, Stoll Glickman cannot evade liability for costs by claiming that its stated

intention to amend the Complaint is sufficient to establish that it acted in sufficient good faith.

To the contrary, the record establishes that Stoll Glickman never actually proposed an amended

complaint that omitted allegations it knew to be untrue; that the first amended complaint that

Stoll Glickman did propose continued to include most of the False Allegations that the Plaintiff

had repudiated; that Stoll Glickman’s second proposed amended complaint was submitted one

week before the Defendants’ summary judgment motion was due and still contained False



1
    Capitalized terms have the same meaning as they had in the Defendant’s primary memorandum.
         Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 5 of 15




Allegations; and that Stoll Glickman should have known that the allegations in the Complaint

had been untrue all along. Accordingly, the award of costs is appropriate.

       Third, Stoll Glickman’s argument that the amount of costs is excessive fails because that

issue, too, has already been decided: Stoll Glickman declined to submit any opposition to the

Defendants’ taxation of costs, which was filed on December 29, 2014. Without any opposition,

the Clerk of the Court calculated the Defendants’ costs at $49,375.45.

       Finally, Stoll Glickman’s argument that law firms are immune to awards of costs under

the law of other Circuits ignores the binding precedent of this Circuit, which holds otherwise.

Indeed, case law in this Circuit concerning Fed. R. Civ. P. 11, 28 U.S.C. § 1927, and the Court’s

inherent powers all establish that Stoll Glickman is not immune from the award of costs.

       The Court was well-justified in awarding costs to the Defendants, and the Motion should

be granted.

                                   STATEMENT OF FACTS

       A.      Stoll Glickman Files the Complaint

       On June 10, 2013, Stoll Glickman filed the Complaint. Newman Decl. Ex. A. As

described in the Defendants’ primary memorandum, the Complaint contained numerous

inflammatory allegations (collectively, the “False Allegations”) which were heavily reported in

the press and which subjected the Defendants and their young children to multiple threats of

violence, including death threats. See e.g., id. ¶¶ 1, 18-19, 38, 41, 43, 86, 90-91, 103, 115, 146-

47, 170, 178, 188, 193, 204.

       B.      Stoll Glickman Proposes an Amended Complaint Which Still Contains
               Allegations it Knew or Should Have Known to Be False

       Stoll Glickman became aware that at least some of the False Allegations were not true

months before informing the Defendants’ counsel or seeking consent to amend the Complaint on

                                                 2
         Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 6 of 15




October 13, 2013. See, e.g., Newman Decl. Ex. B ¶ 4 (Stoll Glickman had known “for months”

that the Plaintiff had not been locked in a bedroom); see also Declaration of Christopher Q.

Davis, dated March 19, 2015 (“Davis Decl.”) ¶¶ 12, 14-15; Declaration of Rachel Haskell, dated

March 19, 2015 ¶¶ 12-16. Thereafter, on November 21, 2013, the Defendants signed a

stipulation with Stoll Glickman, consenting to the submission of a specific proposed amended

complaint (the “Proposed Amended Complaint”) that omitted the allegations that Plaintiff had

been locked in a bedroom but contained the rest of the False Allegations included in the original

Complaint. Second Newman Decl. Ex. A; compare, e.g., Ex. A at ¶¶ 43, 45 (alleging that

defendants forged Plaintiff’s passport and instructed her to lie to customs officials, allegations

Plaintiff denied under oath) with Complaint at ¶¶ 41, 43 (alleging same). Stoll Glickman never

filed the Proposed Amended Complaint.

       At her deposition, conducted on various dates beginning in late November and continuing

into December 2014, the Plaintiff confirmed that none of the False Allegations were true. See,

e.g., Newman Decl. Ex. C. 130:18-131:3; 237:6-11; 238:18-22; Second Newman Decl. Ex. B

158:11-159:6; 160:24-161:4. Because the Plaintiff under oath had disavowed allegations that

appeared in the Proposed Amended Complaint, the Defendants could no longer consent to the

filing of the Proposed Amended Complaint. Nor could Stoll Glickman have proceeded with

filing the Proposed Amended Complaint consistent with Fed. R. Civ. P. 11 in light of those

disavowals. Accordingly, the Defendants informed Stoll Glickman that they were withdrawing

their consent.

       On January 17, 2014, nearly two months after the conclusion of the Plaintiff’s deposition,

the parties met before the Court at a status conference. At that point, Stoll Glickman had done

nothing to attempt to amend the Complaint. At that conference, the Defendants stated their



                                                  3
         Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 7 of 15




intention to move for summary judgment to Stoll Glickman and to the Court. Stoll Glickman did

not raise their intention to propose an additional amendment to the Complaint at that conference.

The Court issued a briefing schedule for the Defendants’ summary judgment motion, giving the

Defendants approximately six weeks to submit their motion.

       Approximately one week before the Defendants’ summary judgment motion was due,

Stoll Glickman attempted to file a new proposed amended complaint (the “Second Proposed

Amended Complaint”) by using the stipulation the Defendants had rescinded as a means of

avoiding a motion to amend the Complaint. Second Newman Decl. Exs. C and D. Not only had

the Defendants never been asked to consent to the filing of the Second Proposed Amended

Complaint, but the Second Proposed Amended Complaint still contained the False Allegations.

Compare Second Newman Decl. Ex. B 158:11-159:6; 160:24-161:4 (Plaintiff denies that she

was ever told to lie to customs officials) with Ex. D at ¶ 46 (alleging that defendant Malu Custer

Edwards instructed Plaintiff to lie to customs officials). The Defendants refused to consent to

the Second Proposed Amended Complaint because it would prejudice their summary judgment

motion, which they had already spent weeks preparing and was due in a matter of days, and

because it still contained False Allegations.

       On February 28, 2014, the Defendants filed their motion for summary judgment. As of

that date, the Plaintiff had done nothing to formally withdraw all of the False Allegations,

requiring the Defendants to address them in their motion.

       C.      The Court Grants the Defendants Summary Judgment and Awards Costs

       On December 9, 2014, this Court granted the Defendants’ motion for summary judgment

and awarded them their costs. Newman Decl. Ex. D, Tr. 33:12-15; see also Garnica v. Edwards,

2014 U.S. Dist. LEXIS 177170 (S.D.N.Y. Dec. 11, 2014). In particular, the Court admonished



                                                 4
           Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 8 of 15




Stoll Glickman that its conduct in the litigation had caused “expense and bother and prejudice”

to the defense, noting that Stoll Glickman had failed to withdraw the False Allegations or amend

the Complaint. 2 Newman Decl. Ex. D., Tr. 33:16-24.

        D.       The Clerk of the Court Approves The Defendants’ Bill of Costs but Stoll
                 Glickman Refuses to Pay

        The Defendants filed a Bill of Costs with the Clerk of the Court on December 29, 2014.

Newman Decl. Ex. E. Stoll Glickman had the opportunity to offer objections to the Bill of

Costs, but declined to do so. After carefully considering whether each category of costs sought

by the Defendants were taxable, the Clerk approved the majority of the costs sought by the

Defendants on February 9, 2015. Id.

        E.       Stoll Glickman’s Work Was Not Limited to Individual Lawyers

        In 2013, Stoll Glickman was a law firm comprised of 4 partners and between 3-4

associates. Declaration of Andrew Stoll, dated March 24, 2015 (“Stoll Decl.”) ¶¶ 5-6. From the

filing of the Complaint through the motion for summary judgment, at least two of the partners

and one of the associates (Mr. Stoll, Mr. Davis, and Ms. Haskell, respectively) worked on this

litigation. Id. ¶¶ 36, 38. In settlement negotiations, Mr. Davis represented that the decision to

settle the case lay with the firm and not with him individually. Second Newman Decl. ¶ 6. After

Mr. Davis left the firm, Mr. Stoll continued to represent the Plaintiff on behalf of Stoll Glickman.

He represented to the Defendants’ counsel that the Plaintiff was the firm’s client and not Mr.

Davis’s.




2
  Stoll Glickman implies in its opposition that the defendants have hidden the Proposed Amended Complaint from
the Court. But the Proposed Amended Complaint, and emails from Stoll Glickman concerning it, were actually
submitted by the Defendants as exhibits to the summary judgment motion pursuant to which the Court granted costs.
See Declaration of William H. Newman, dated February 28, 2014, Exhs. D-G.

                                                       5
         Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 9 of 15




                                            ARGUMENT

            I.          STOLL GLICKMAN HAS NOT PROVIDED
                        ANY VALID REASON WHY THE COURT’S
                        AWARD OF COSTS SHOULD BE IGNORED

        This Court awarded costs to the Defendants on December 9, 2014. Newman Decl. Ex. D,

Tr. 33:12-15; see also Garnica v. Edwards, 2014 U.S. Dist. LEXIS 177170, at *14 (S.D.N.Y.

Dec. 11, 2014). Stoll Glickman does not address the Court’s determination in its opposition to

the Motion. See generally Stoll Glickman’s Memorandum of Law, dated March 15, 2015 (“SG

Mem.”). Instead, Stoll Glickman argues that the Court should never have awarded costs at all.

This argument should be rejected for two reasons.

        First, Stoll Glickman’s attempt to ask the Court to reconsider its award of costs is

untimely. Stoll Glickman had 14 days after December 12, 2014 (the date the Court’s Order was

filed) to make a motion for reconsideration or re-argument. Local Civil Rule 6.3. It chose not to

do so and offers no reason why it should be excused from that time limit.

        Second, Stoll Glickman attempts to argue that its failure to comply with its ethical

obligations was the Defendants’ fault. Stoll Glickman suggests that the Defendants refused to

permit them to amend the Complaint, thereby perpetuating devastating allegations against them,

for unspecified reasons. Not only is this irrational, it is false.

        Stoll Glickman sent the Proposed Amended Complaint to the Defendants on October 11,

2013. The Defendants consented to its filing on November 21, 2013. Second Newman Decl.

Ex. A at 2. But Stoll Glickman never filed it.

        Instead, beginning on November 21, 2013 and continuing through December 11, 2013,

the Plaintiff under oath denied many of the False Allegations that appeared in the Proposed

Amended Complaint. At that point, the Defendants could no longer consent to the filing of the



                                                   6
          Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 10 of 15




Proposed Amended Complaint because they knew that, in light of the Plaintiff’s testimony

disavowing the False Allegations, Stoll Glickman had no good faith basis for filing the Proposed

Amended Complaint.

          For months after that, Stoll Glickman never proposed or attempted to file a new proposed

amended complaint containing only allegations for which it had a good faith basis. On January

17, 2014, the Defendants told the Court and Stoll Glickman at a status conference that it intended

to move for summary judgment. Stoll Glickman remained silent about any potential amendment

to the Complaint. But a week before the Defendants’ summary judgment motion was due, Stoll

Glickman attempted to submit the previously withdrawn stipulation to amend the Complaint, but

intending to use the stipulation for a different proposed amended complaint (the Second

Proposed Amended Complaint) than the one to which the Defendants had previously consented.

Second Newman Decl. Ex. D. The Second Proposed Amended Complaint still contained False

Allegations. Compare Second Newman Decl. Ex. B 158:11-159:6; 160:24-161:4 (Plaintiff

denies that she was ever told to lie to customs officials) with Ex. D at ¶ 46. The Defendants

refused to consent to the submission of the Second Proposed Amended Complaint a week before

its summary judgment motion was due when it still contained allegations the Plaintiff had

denied.

          Stoll Glickman attempts to treat the Defendants’ objection to the filing of the Proposed

Amended Complaint as an objection to file any amended complaint that somehow relieved them

of their obligation to withdraw baseless allegations. But Stoll Glickman had over a month to

propose an amended complaint that did not contain any of the False Allegations before the status

conference, and it could have raised the necessity for it to amend the Complaint at the status

conference. Its failure to do either cannot be blamed on the Defendants. And even if the



                                                   7
        Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 11 of 15




Defendants had stated an objection to amending the Complaint at all, Stoll Glickman had an

independent obligation to withdraw any unfounded allegations. See, e.g., New Amsterdam

Capital Partners, LLC v. Wilson, 2015 U.S. Dist. LEXIS 31252, at *6-8 (S.D.N.Y. Mar. 13,

2015) (denying motion for leave to amend complaint because plaintiff had waited too long to

make the amendment, in violation of its obligation to move to amend its complaint “as soon as

the necessity for altering the pleading becomes apparent”) (citation omitted). We have found no

case law suggesting that Stoll Glickman’s Rule 11 obligation to withdraw unfounded allegations

is contingent upon the Defendants’ consent.

       Stoll Glickman cannot also claim that it needed months to discover the baselessness of

the False Allegations. The Defendants did not need to undertake any fancy detective work to

determine that Stoll Glickman lacked any basis to make False Allegations: merely asking the

Plaintiff at her deposition if her passport photos were actually taken or if the Defendants had

taken her passport from her in the United States was sufficient to elicit her denials of those False

Allegations. See, e.g., Newman Decl. Ex. C 130:18-131:3; 212:9-25. Stoll Glickman should

have asked its client these questions before filing the Complaint and making the False

Allegations.

       Because Stoll Glickman’s objection to the award of costs is untimely, based on a false

recitation of the facts, and based on the premise that Stoll Glickman’s failures were the

Defendants’ fault, it should be rejected.

            II.        STOLL GLICKMAN HAS NOT PROVIDED
                       ANY VALID REASON WHY THE AMOUNT
                       OF COSTS TAXED SHOULD BE SET ASIDE

       Stoll Glickman argues that, even if it had amended the Complaint, the Defendants’ would

not have saved the costs now sought through the Motion. This argument fails for two reasons.



                                                 8
        Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 12 of 15




       First, the Defendants already submitted a Bill of Costs to the Clerk of the Court on

December 29, 2014. Newman Decl. Ex. E. The time for Stoll Glickman to have objected to

those costs was after the submission of the Bill of Costs and prior to its adoption by the Clerk of

the Court on February 9, 2015. Stoll Glickman offered no objections to the Bill of Costs and

failed to appear in Court to contest its adoption. Id. Stoll Glickman should not be permitted to

waste the Court’s time debating which costs should be reimbursed when it offers no excuse why

it waived the opportunity it had to do so previously.

       Second, Stoll Glickman is wrong when it states that the withdrawal of the False

Allegations would not have saved the Defendants’ costs of litigation. Case law in this Circuit

has already established that Stoll Glickman’s conduct warrants the award of costs. 3 See

Memorandum of Law in Support of Defendants’ Motion for Costs, dated February 24, 2015, at

3-4. But even so, had Stoll Glickman attempted to verify the False Allegations with its client,

the False Allegations may never have appeared in the Complaint and warranted the discovery

and motion practice necessary to elicit their denial and publicly vindicate the Defendants’

innocence. Indeed, had Stoll Glickman amended the Complaint, the basis for their claims would

have disappeared. Stoll Glickman argues that the Plaintiff’s claims were colorable without the

False Allegations, but as the Defendants established on summary judgment, the Plaintiff’s

remaining allegations were either without any evidentiary basis or were insufficient to support

her claims. See Garnica, 2014 U.S. Dist. LEXIS 177170 at *1-2.


3
  Stoll Glickman’s attempt to distinguish Levine v. FDIC, 2 F.3d 476 (2d Cir. 1993) as irrelevant to
28 U.S.C. § 1927 fails because the Court there explicitly affirmed the application for costs pursuant
to, inter alia, 28 U.S.C. § 1927. Id. at. 478-479. Stoll Glickman’s claim that Gollomp v. Spitzer,
568 F.3d 355 (2d Cir. 2009) is inapplicable likewise fails. Though Stoll Glickman suggests its
claims were only without factual basis (whereas the award in Gollomp was based on an absence of
legal basis) Stoll Glickman’s claims were without legal basis as well – because without the False
Allegations, the Plaintiff had no claims.

                                                 9
        Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 13 of 15




       Stoll Glickman argues that it had communicated to the Defendants that it intended on not

pursuing the False Allegations and thus the Defendants’ did not need to expend costs defending

against the False Allegations. SG Mem. at 2. Stoll Glickman misses the point: specifically

because Stoll Glickman never formally withdrew the False Allegations (notwithstanding any

private representation by Mr. Davis), the Defendants had to continually defend against them.

Indeed, Stoll Glickman even refused to let go of the False Allegations entirely in their opposition

to summary judgment. See, e.g., Memorandum of Law in Opposition to Defendants’ Motion for

Summary Judgment, dated April 3, 2014 at 1 (citing psychological coercion as “Plaintiff’s

primary legal theory,” but not sole legal theory). Because the Defendants could not risk the

False Allegations succeeding in court, and because Stoll Glickman would neither embrace nor

end the False Allegations, the Defendants were forced to defend against them.

       Stoll Glickman had the opportunity to confirm or withdraw the False Allegations, but

failed to do so. It had the opportunity to contest the Court’s award of costs in a motion for

reconsideration, but failed to do so. And it had the opportunity to contest the extent of the costs

it caused to the Defendants, but failed to do so. It should not now be permitted to argue that it

should be excused from the costs award that this Court has already made.

            III.       LAW FIRMS ARE NOT IMMUNE FROM
                       PAYING COSTS UNDER ANY STATUTORY
                       OR INHERENT AUTHORITY TO AWARD
                       THEM_________________________________

       The Second Circuit has made clear that 28 U.S.C. § 1927 applies to law firms. See

Enmon v. Prospect Capital Corp., 675 F.3d 138, 148-49 (2d Cir. 2012) (affirming sanctions

applied to a law firm pursuant to 28 U.S.C. § 1927). See also Universitas Educ., LLC v. Nova

Grp., 2013 U.S. Dist. LEXIS 142901 (S.D.N.Y. May 21, 2013) (“The Court of Appeals for the




                                                 10
        Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 14 of 15




Second Circuit has held that a court may sanction a law firm under Section 1927 if its conduct

rises to bad faith”) (citing Enmon).

       Stoll Glickman ignores the clear precedent of the Second Circuit, and instead argues that

under the law of other Circuits, it would not be liable under 28 U.S.C. § 1927. But Stoll

Glickman cites Enmon in its brief, so it must be aware of its binding precedent that 28 U.S.C. §

1927 applies to law firms such as Stoll Glickman. SG Mem. at 4.

       In a last ditch effort to avoid responsibility, Stoll Glickman attempts to pass the blame for

its conduct onto its former employees (and Mr. Davis attempts to pass the blame onto his

associate). Id. at 9-10; Davis Decl. ¶¶ 25-26. But the Court should not make a distinction

between Stoll Glickman and Mr. Stoll, Mr. Davis, and Ms. Haskell. During the litigation, Mr.

Stoll and Mr. Davis comprised half of Stoll Glickman’s partnership. Stoll Decl. ¶¶ 5-6.

Together with Ms. Haskell, they were approximately half of the attorneys at the firm. Id. Mr.

Davis represented to the Defendants that other partners besides himself were involved in

decision-making concerning the case and, when Mr. Davis and Ms. Haskell left Stoll Glickman,

the case remained with the firm and did not follow them as unaffiliated individuals. Indeed, Mr.

Stoll represented to the Defendants that the Plaintiff was his client and, after reviewing the

summary judgment papers – which included a discussion about the False Allegations – continued

to prosecute this action rather than withdrawing it or seeking to amend the complaint.

       But if ultimately the Court concludes that 28 U.S.C. § 1927 is inapplicable to Stoll

Glickman, it should nevertheless exercise its inherent authority or its authority pursuant to Fed.

R. Civ. P. 11 to enforce the award of costs it has already made. See, e.g., Levine v. FDIC, 2 F.3d

476, 478-79 (2d Cir. 1993) (upholding sanctions pursuant to 28 U.S.C. § 1927, Fed. R. Civ. P.




                                                 11
          Case 1:13-cv-03943-AKH Document 51 Filed 04/01/15 Page 15 of 15



11, and the Court's inherent power because of counsel's assertion of baseless factual

allegations).


                                        CONCLUSION

       For the foregoing reasons, the Defendants respectfully request that Stoll Glickman be

ordered to pay the costs the Court awarded on December 9, 2014, and that were approved by the

Clerk without opposition on February 9, 2015.

Dated: New York, New York
       April 1, 2015
                                             Respectfully submitted,


                                            BECKER, GLYNN, MUFFLY, CHASSIN &
                                            HOSINSKI LLP



                                                      in L. Alperstei
                                                   illiam H. Newman
                                                Michelle R. DeMason
                                            299 Park Ave.
                                            New York, New York 10171
                                            (212) 888-3033
                                            ralperstein@beckerglynn .com
                                            wnewman@beckergl ynn. com
                                            mdemason@beckerglynn .com

                                            Attorneys for the Defendants




                                                12
